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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

THE B.LACK & DECKER CORPORATION, Case No. 1:1 1-cv»05426
BLACK & DECKER INC. and BLACK &
DECKER (U.S.) INC., Judge Robert M. Dow, Jr'.

Magistrate-.¥udge Geraidin_e S{)a,t Brown
Plaintiffs,

V.
POSITEC USA INC. and RW DIRECT, INC.

Defendants.

 

INSTRUCTIONS T() THE JURY

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Memhers of the jury, you have seen and heard all the evidence and arguments of the
attorneys Nowl Will instruct you on the law.

You have two duties as a jury. Your first duty is to decide the facts from the evidence in
the case. This is your job, and yours alone

Your Sccond duty is to apply the law that l give you to the facts You must follow these
instructions, even if you disagree With them. Each of the instructions is important, and you must
follow all of them.

Peri`orm these duties fairly and impartialiy.

Nothing l say now, and nothing l said or did during the trial, is meant to indicate any

opinion on my part about What the facts are or about What your verdict should be.

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The evidence consists of the testimony of the Witnesses, the exhibits admitted in
evidence, and any facts that l may instruct you to find or the parties may agree or stipulate to.
A stipulation is an agreement between both sides that certain facts are true. As l previously
explained, you Wiil receive a set of the exhibits received in evidence, both in hard copy and on a
tlash drive (to the extent that the exhibits are in paper form). You aiso Will receive a hard copy of

the stipuiations.

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During the triai, certain testimony Was presented to you by the reading of depositions
You should give this testimony the same consideration you would give it had the Witnesses

appeared and testified here in court

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Certain things are not to be considered as evidence I Will list them for you:

First, if I told you to disregard any testimony or exhibits or struck any testimony or
exhibits from the record, such testimony or exhibits are not evidence and must not be considered

Second, anything that you may have seen or heard outside the courtroom is not evidence
and must be entirely disregarded This includes any press, radio, Internet or television reports
you may have seen or heard Such reports are not evidence and your verdict must not he
influenced in any vvay by such publicity

Third, questions and objections or comments by the lawyers are not evidence
Lavvyers have a duty to object When they believe a question is improper. You should not be
influenced by any objection, and you should not infer from my rulings that l have any view as to
how you should decide the case.

Fourth, the lawyers’ opening statements and closing arguments to you are not evidence
Their purpose is to discuss the issues and the evidence If the evidence as you remember it

differs from What the lawyers said, your memory is What counts

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Any notes you have taken during this trial are only aids to your memory rl`he notes are
not evidence lf you have not taken notes, you should rer on your independent recoiiection of
the evidence and not be unduly influenced by the notes of other jurors Notes are not entitied to

any greater Weight than the recollections or impressions of each juror about the testimony

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ln determining Whether any fact has been proved, you should consider all of the evidence

bearing on the question regardless of Who introduced it.

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You vvill recall that during the course of this trial l instructed you that l admitted certain
evidence for a limited purpose You must consider this evidence only for the limited purpose for
Which it vvas admitted

The evidence concerning prior litigation asserted by Plaintiffs against third parties may
be considered by you only and for no other purpose except to demonstrate Plaintiffs’ efforts to
police their alleged trade dress rights; to evaluate the strength of the Plaintiffs’ alleged trade
dress rights; to evaluate Whether that alleged trade dress has acquired a secondary meaning; and
to evaluate Whether Defendants Willfully infringed Plaintiffs’ alleged trade dress. Those prior
decisions are not binding on you or the Defendants.

The photograph used by l\/lr. Berger to formulate his survey as to a likelihood of
confusion is not to be considered as substantive evidence and is to be considered by you only and
for no other purpose other than to explain how Mr. Berger formulated and conducted his

likelihood of confusion survey.

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You should use common sense in weighing the evidence and consider the evidence in
light of your own observations in life

In our lives, we often look at one fact and conclude from it that another fact exists. ln law
we call this “inference.” A jury is allowed to make reasonable inferences Any inference you

make must be reasonable and must be based on the evidence in the casc.

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You may have heard the phrases “direct evidence” and “circumstantial evidence.”
l)irect evidence is proof that does not require an inference such as the testimony of someone
who claims to have personal knowledge of a fact. Circumstantial evidence is proof of a fact, or a
series of facts, that tends to show that some other fact is true

As an example direct evidence that it is raining is testimony from a witness who says, “l
was outside a minute ago and l saw it raining.” Circurnstantial evidence that it is raining is the
observation of someone entering a room carrying a wet umbrella

The law makes no distinction between the weight to be given to either direct or
circumstantial evidence You should decide bow ruqu Weight to give to any evidence ln
reaching your verdict, you should consider all the evidence in the case, including the

circumstantial evidence

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You must decide whether the testimony of each of the witnesses is truthful and accurate,
in part, in whole, or not at all. You also must decide what weight, if any, you give to the
testimony of each witness

ln evaluating the testimony of any witness, including any party to the case, you may
consider, among other things:

- the ability and opportunity the witness had to see, hear, or know the things that the
witness testified about;

- the witness’s memory;

- any interest, bias, or prejudice the witness may have;
- the witness’s intelligence;

- the manner of the witness while testifying;

a the witness’s age',

- and the reasonableness of the witness’s testimony in light of all the evidence in the
case

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It is proper for a lawyer to meet with any witness in preparation for trial.

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Yo'u may find the testimony of one witness or a few witnesses more persuasive than the
testimony of a larger number. You need not accept the testimony of the larger number of

witnesses

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The law does not require any party to call as a witness every person who might have
knowledge of the facts related to this trial. Similarly, the law does not require any party to

present as exhibits all papers and things mentioned during this trial.

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You have heard witnesses give opinions about matters requiring special knowledge or
skill You should judge this testimony in the same way that you judge the testimony of any other
witness The fact that such person has given an opinion does not mean that you are required to
accept it. Give the testimony whatever weight you think it deserves, considering the reasons

given for the opinion, the witness’s q_ualitications, and ali of the other evidence in the case.

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Certain charts, graphs, timelines and PowerPoin_t slides have been shown to you. Those

visual aids are used for convenience and to help explain the facts of the case. They are not

themselves evidence or proof of any facts.

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You must give separate consideration to each claim and each party in this case Although

there are two defendants, it does not follow that if one is liabie, then the other is also liable

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Whenl say a particular party must prove something by “a preponderance of the
evidence,” or when l use the expression “if you i`md,” or “if you decide,” this is what l inean:
When you have considered all the evidence in the case, you must be persuaded that it is more

probath true than not true.

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Plaintiffs claim that Det`endants have infringed Plaintii`t`s’ trademarks and trade dress

A trademark is a word, symbol, or combination of words or symbols used by a person to
identify his product, to distinguish his product from those manufactured or sold by others, and to
indicate the source ot` his product

A trade dress is a type of trademark used by an entity to identify its product, to
distinguish its product from those manufactured or sold by others, and to indicate the source of
its product The term “trade dress” refers to the total image of a product, product packaging
product label, product design, or a combination of these things. lt includes features such as size,
shape, color or color combinations, texture, graphics, or particular sales techniques

The purpose of trademark law is to prevent confusion among consumers about the source
of products and to permit trade dress owners to show ownership of their products and control
their product’s reputation

As l stated previously, Plaintiffs claim that Det`endants have infringed the yellow and
black color combination of Plaintifi`s’ DeWalt power tool products, accessories and packaging by
selling competing power tool products with the same or substantially the same colors as
Plaintit`t`s’ trade dress and family of registered trademarks

Plaintiffs argue that the public is likely to believe that Defendants’ products are in some
way affiliated with, or sponsored by, Plaintit`t`s. Defendants deny, and contend that Plaintiffs
have not proven by a preponderance of the evidence, that Plaintiffs have asserted a protectable
trade dress, that they own the trade dress being asserted, that the asserted trade dress is valid
because it has not acquired distinctiveness and is functional, and that Defendants’ use of their
trade dresses on the accused products and packaging cause a likelihood of confusion
Defendants also deny that they infringe the family of yellow and black color trademarks

associated with Plaintiffs’ products

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Plaintif;t`s claiml that Defendants infringe Plaintifts’ “farnily” trade dress of a “yeilow and

black color scheme.” To succeed on this claim, Plaintiffs must prove the following things by a

preponderance of the evidence:

l.

2.

Plaintiffs own a “famiiy” of a “yellow and black color scheme” as a trade dress;
Plaintiffs’ family ot` a “yellow and black color scheme” is a valid trade dress;
Plaintit"fs’ claimed trade dress is not functional;

Defendants used their accused Rockwell branded trade dresses in a manner that is
likely to cause confusion as to the source, origin, sponsorship, or approval of

Defendants’ accused products and packaging

l will explain what l mean by these terms

if you lind that Plaintit`t`s have proven each of these things by a preponderance of the

evidence, then you must find for Plaintifi`s. However, if Plaintiffs did not prove each of these

things by a preponderance of the evidence, then you must lind for defendants

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A “family” is a group of trademarks or trade dresses having a recognizable common
characteristic, wherein the trademarks or trade dresses are composed and used in such a way that
the public associates not only the individual trademarks or trade dresses, but the common

characteristic of the family, with the trademark or trade dress owner.

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One of the things Plaintiffs must prove by a preponderance ot`the evidence is that
l’iaintiffs own the alleged “farnily” trade dress of a “yellow and black color scheme” for its
DeWalt branded professional power tools, accessories, and packaging

Plaintiffs own the “farnily” of a “yellow and black color scheme” for its DeWalt branded
professional power tools, accessories, and packaging as a trade dress if Plaintiffs used
the trade dress in a manner that allowed consumers to identify the trade dress with Plaintili"t`s or
its products or packaging before Defendants began to use its accused trade dresses on its accused

Rockwell branded products and packaging

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A valid trade dress is a product design or packaging that is “distinctive,” which means
that the product design or packaging is capable of distinguishing Plaintif`fs’ products and
packaging from the products and packaging of others A trade dress for a coior combination is
valid if it has acquired distinctiveness, and it is nonfunctional

l will explain these terms to you.

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To show that the yellow and black color combination of Plaintitfs’ DeWait power tool
products, accessories and associated packaging has obtained “secondary meaning,” also referred
to as “acquired distinctiveness,” Plaintiffs must show by a preponderance of evidence that:

l. A substantial portion of the consuming public identities the yellow and black
colors with a particular source, whether or not consumers know who or what that source is. The
consuming public consists of people who may buy or use, or consider buying or using, the
product or similar products; and

2. Piaintit`fs’ trade dress acquired distinctiveness before Dei`endant first began to use
the asserted trade dress.

To decide whether Piaintii`t`s’ trade dress has “acquired distinctiven.ess,” you may
consider the following:

- the amount and manner of advertising, promotion5 and other publicity of

Plaintiffs’ products and packaging using Plaintiffs’ trade dress;

' the sales volume of Piaintiff’s product using Piaintit`fs’ claimed trade dress;
~ the length and manner of use of Plaintit`t`s’ claimed trade dress;

v consumer testimony;

‘ consumer surveys

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Plaintiffs must prove by a preponderance of the evidence that the yellow and black color
combination on the DeWalt power tools, accessories and packaging is not functionai. A trade
dress is “functional” if it is essential to the operation of the product as a whole To determine
this, you are to consider the following:

* Are there other designs that could perform the function equally well? If so, this is
evidence that the design is not functional.

' Does the design provide a practical advantage? If so, this is evidence that the design
is functional.

' Have Plaintiffs advertised or promoted the practical advantages of the design? if so,
this is evidence that the design is functional

~ Does the design result from a comparatively simpie, cheap, or superior method of
manufacturing the product or packaging? If so, this is evidence that the design is functional.

' Would the Plaintiffs’ exclusive use of the design put competitors at a significant
disadvantage not related to reputation? if so, this is evidence that the design is functional.

To determine whether a product’s trade dress is functional, you should consider

everything that makes up the trade dress.

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As l have told you, one of the things that Plaintiffs must prove is that Defendants have

 
 

used power tool products and packaging in a manner that is likely to cause confusion --'+
to the source, origin, sponsorship and/or affiliation of Defendants’ products and associated
packaging

Plaintiffs must prove by a preponderance of the evidence a likelihood of confusion
among a significant number of people who buy or use, or consider buying or using, the power
tool products and packaging at issue in this case.

in deciding this, you should consider the following:

' Whether the overall impression created by Defendants’ power tool products and
packaging is similar in appearance to that created by Plaintii`fs’ power tool products and
packaging using the yellow and black color combination;

¢ Whether l)efendants and Plaintiffs use the yellow and black color combination on
the same or related products and packaging;

- Whether Plaintiffs’ and Defendants’ products and associated packaging are likely
to be sold in the same or similar stores or outlets, or advertised in similar media;

° The degree of care that purchasers or potential purchasers are likely to exercise in
buying or considering whether to buy the products at issue in this case. Tliis may depend on the
level of sophistication of potential buyers of the products and the costs of the products;

- The degree to which purchasers or potential purchasers recognize Plaintit`fs’ trade
dress as an indication of the origin of Plaintiffs’ products You may consider my previous
instructions concerning secondary meaning to help you assess this factor;

' Whether Defendants’ use of the yellow and black color combination on their
power tool products and packaging has led to instances of actual confusion among purchasers or

potential purchasers about the source, origin, sponsorship and/or affiliation of Defendants’

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products and associated packaging However_, actual confusion is not required for finding a
likelihood of confusion;

° Whether Defendants intended to pass off their power tool products and packaging
as that of Plaintiffs, or intended to confuse consumers

The weight to be given to each of these factors is up to you to determine No particular

factor or number of factors is required to prove likelihood of confusion

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As stated, in addition to Plaintift`s’ claim for trade dress infringement, Piaintit`t`s also
allege that Defendants have infringed their family of registered yellow and black color
trademarks associated with their DeWalt power tool products To prevail on their trademark
infringement claim, Piaintiffs must prove that Dei`endants’ power tool products and packaging
are likely to cause consumers to believe mistakenly that their products and packaging are
manufactured sponsored, or endorsed by, or affiliated or connected with, Plaintiffs’ brand

Plaintii`fs must prove by a preponderance of the evidence a likelihood of confusion
among a significant number of people who buy or use, or consider buying or using, the power
tool products and packaging at issue in this case.

ln deciding this, you should consider the following:

~ Whether the overail impression created by Dei`endants’ power tooi products and
packaging is similar in appearance to that created by the family of registered yellow and black
color trademarks associated with Plaintiffs’ power tooi products;

' Whether Defendants and Plaintit`fs use the yellow and black color combination on
the same or related products and packaging;

' Whether Plaintiffs’ and Der`endants’ products and associated packaging are likely
to be sold in the same or similar stores or outlets, or advertised in similar media;

‘ The degree of care that purchasers or potential purchasers are iikely to exercise in
buying or considering whether to buy the products at issue in this case. This may depend on the
level of sophistication of potential buyers of the products and the costs of the products;

' The degree to which purchasers or potential purchasers recognize Plaintifi`s’
family of registered yellow and black color trademarks as an indication of the origin of
Plaintiffs’ productsl You may consider my previous instructions concerning secondary meaning

to help you assess this factor;

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- Whether Defendants’ use of the yellow and black color combination on their
power tool products and packaging has led to instances of actual confusion among purchasers or
potential purchasers about the source, origin, sponsorship and/or affiliation of Defendants’
products and associated packaging However, actual confusion is not required for finding a
likelihood of confusion;

’ Whether Defendants intended to pass off their power tool products and packaging
as that of Plaintit`t`s, or intended to confuse consumers

The weight to be given to each of these factors is up to you to determine l\lo particular

factor or number ot` factors is required to prove likelihood of confusion

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lt` you decide for Plaintit`ts on the question of liability, then you should consider the
amount of money to award to Plaintiffs.
lf you decide for l)et`endants on the question of liability, then you should not consider

this issue

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Plaintiffs may recover the protits Defendants gained from the trademark or trade dress
infringement Protit is determined by deducting expenses from gross revenue Gross revenue is
all of the money Defendants received due to their use of the claimed trademarks or trade dress.

Plaintifts are required only to prove Dei`endants’ gross revenue Defendants are required
to prove any expenses that they argue should be deducted in determining their profits

l)laintit`fs are entitled to recover Defendants’ total profits from Defendants’ use of the
claimed trademarks or trade dress_, unless Defendants prove that a portion of the profit is due to

factors other than the use of the claimed trademarks or trade dress

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If you find that Defendants infringed Plaintiffs’ trademarks or trade dress, you must also
determine whether Plaintiffs have proven that, at the time Defendants used the trademarks or

trade dress, Defendants acted willfully. Defendants acted willfully if they knew that they were

trademark or trade dress rights

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Upon retiring to the jury room, you must select a presiding juror. The presiding juror will
preside over your deliberations and will he your representative here in court Forrns of verdict
have been prepared for you. [Forms of verdict read.} 'l`ake these forms to the jury room, and
when you have reached unanimous agreement on the verdict, your presiding juror will fill in and

date the appropriate form, and all of you will sign and date it.

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l do not anticipate that you will need to communicate with me. if you do need to
communicate with me, the only proper way is in writing Th.e writing must be signed by the
presiding juror, or, if he or she is unwilling to do so, hy some other juror The writing should be
given to the marshal, who will give it to me. l will respond either in writing or by having you
return to the courtroom so that l can respond orally.

If you do communicate with me, you should not indicate in your note what your

numerical division is, if any (for example, 3~5 or 4»4).

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The verdicts must represent the considered judgment of each juror. Your verdicts,
whether for or against the parties, must he unanimous You should make every reasonable effort
to reach a verdict ln doing so, you should consult with one another, express your own views,
and listen to the opinions of your fellowjurors. Discuss your differences with an open mind Do
not hesitate to reexamine your own views and change your opinion if you come to believe it is
wrong But you should not surrender your honest beliefs about the weight or effect of evidence
solely because of the opinions of other jurors or for the purpose of returning a unanimous
verdict All of you should give fair and equal consideration to all the evidence and deliberate
with the goal of reaching an agreement that is consistent with the individual judgment of each

juror. You are impartial judges of the facts

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VERDICT F()RM

PART I

For each question, follow the instructions below and answer accordingly Unl.ess otherwise
noted, please use an “X” to designate your answer.

l. On Plaintift`s’ trademark infringement claim, we the jury find as follows:
F or Piaintiffs For Defendant
As to Defendant Positec
As to Defendant RW Direct
2. Ori Piairitift`s’ trade dress infringement claim, we the jury find as follows:
For Piaintift`s For Defendant
As to Dei`endant Positec
As to Defendant RW Direct

If you found for Piaintit`fs on any of the questions above, please proceed to Part ll, if you found
for Defendants on ali of the above questions, please proceed to the Part IV.

PART ll

3. State the amount ot`Defendants’ protits, if any, that are to be awarded to Plaintif§§® @

As to Defendant Positec: $
As to Defendant RW Direct: $
Piease proceed to Part llI.
PART III
4. Do you find that Defendants’ infringement was willful?
YBS NO

As to Defendant Positec

As to Det`endant RW Direct

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PART lV

Please sign and date this form below and provide the Court Security Ot`i'icer with a note that you
have reached a verdict:

Signature Date

i.)

 

Foreperson

2.)

 

3.)

 

4.)

 

5.)

 

6-)

 

7.)

 

8.)

 

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